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                                     UNITED STATES DISTRICT COURT
                                        DISTRICT OF MARYLAND

    PETER J. MESSITTE                                                              6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE                                                     GREENBELT, MARYLAND 20770
                                                                                          301-344-0632


                                              MEMORANDUM



       TO:            AUSA Francesca Liquori, AUSA Lindsay Kaplan, AUSA William Moomau
       FROM:          Judge Peter J. Messitte
       RE:            United States v. Jose Javier Salgado-Machado, Crim. No. PJM 15-0258-5
       DATE:          February 21, 2017



       Trial is scheduled to begin in this case on May 2, 2017. The Court notes that no attorney has
       entered an appearance on behalf of Defendant Jose Javier Salgado-Machado. Please advise the
       Court on the status of counsel as to that Defendant no later than Friday, February 24, 2017.

       Despite the informal nature of this ruling, it shall constitute an Order of the Court and the Clerk
       is directed to docket it accordingly.




                                                                       /s/
                                                                 PETER J. MESSITTE
                                                            UNITED STATES DISTRICT JUDGE

       cc:     AFPD John Chamble
